
397 S.E.2d 233 (1990)
327 N.C. 479
STATE of North Carolina
v.
Michael Ray QUESINBERRY.
No. 95A88.
Supreme Court of North Carolina.
October 3, 1990.
Gordon Widenhouse, Asst. Appellate Defender, for defendant.
Ellen B. Scouten, Asst. Atty. Gen., James J. Coman, Sr. Deputy Atty. Gen., for the State.

ORDER
Upon consideration of the order of the Supreme Court of the United States, ___ U.S. ___ 110 S.Ct. 1465, 108 L.Ed.2d 603 vacating the judgment of this Court and remanding this cause for further consideration in light of its decision in McKoy v. North Carolina, ___ U.S. ___, 110 S.Ct. 1227, 108 L.Ed.2d 369 (1990), the following order is entered:
Defendant shall have up to and including 5 November 1990 to file and serve a supplemental brief with this Court, limited to the questions of whether there was error in this case pursuant to McKoy and, if so, whether any such error can be found to be harmless beyond a reasonable doubt. State v. McKoy, 327 N.C. 31, 394 S.E.2d 426 (1990). The State may file its brief in response within 30 days after service of defendant's brief upon it.
*234 By order of the Court in conference this the 3rd day of October 1990.
